Case 1:20-cv-22751-DPG Document 17 Entered on FLSD Docket 09/28/2020 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:20-cv-22751-DPG


   NORA’S STYLE SALON INC,

           Plaintiff,

   v.

  FARMER’S GROUP, INC. D/B/A
  FARMERS UNDERWRITERS ASSOCIATION and TRUCK
  INSURANCE EXCHANGE,

          Defendants.
                                              /

        PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiff, Nora’s Style Salon Inc.,(“Plaintiff”), pursuant to Rule 41(a)(1)(A)(i) of the

  Federal Rules of Civil Procedure, hereby gives notice that the claims against Defendants, Farmer’s

  Group, Inc., d/b/a Farmers Underwriters Association and Truck Insurance Exchange,

  (“Defendants”) in the above-captioned action are voluntarily dismissed, without prejudice.

           Dated: September 28, 2020              Respectfully submitted,

                                                  By: /s/ Adam M. Moskowitz
                                                  Adam M. Moskowitz
                                                  Florida Bar No. 984280
                                                  adam@moskowitz-law.com
                                                  Adam A. Schwartzbaum
                                                  Florida Bar No. 93014
                                                  adams@moskowitz-law.com
                                                  Howard M. Bushman
                                                  Florida Bar No. 0364230
                                                  howard@moskowitz-law.com
                                                  Joseph M. Kaye
                                                  Florida Bar No. 117520
                                                  joseph@moskowitz-law.com
                                                  THE MOSKOWITZ LAW FIRM, PLLC
                                                  2 Alhambra Plaza, Suite 601
                                                  Coral Gables, FL 33134
                                                  Telephone: (305) 740-1423
Case 1:20-cv-22751-DPG Document 17 Entered on FLSD Docket 09/28/2020 Page 2 of 2




                                                William F. “Chip” Merlin, Jr.
                                                cmerlin@MerlinLawGroup.com
                                                New Jersey Bar No. 055182013
                                                Florida Bar No. 364721
                                                Shane Smith
                                                ssmith@MerlinLawGroup.com
                                                Florida Bar No. 53130
                                                MERLIN LAW GROUP
                                                777 S. Harbour Island Blvd., Suite 950
                                                Tampa, FL 33602
                                                Telephone: (813) 229-1000
                                                Facsimile: (813) 229-3692




                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the forgoing was filed on September 28,
  2020 with the Court via CM/ECF system, which will send notification of such filing to all attorneys
  of record.
                                               By: /s/ Adam M. Moskowitz______
                                                 ADAM M. MOSKOWITZ
                                                 Florida Bar No. 984280
